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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF LOUISIANA

IN RE: FEMA TRAILER FORMALDEHYDE MDL NO. 1873

PRODUCTS LIABILITY LITIGATION
SECTION “N-5”
JUDGE ENGELHARDT
MAG. JUDGE CHASEZ

THIS DOCUMENT IS RELATED TO:

DeCarlo McGuire, et al v. Gulf Stream Coach, Inc., et al
No. 06-5659

REAR KAERAT ERASER KKAKRKKKK Hea AK Kee
ORDER
CONSIDERING the foregoing Consent Motion for Leave to file Second Supplemental
and Amending Complaint on Plaintiffs’ behalf;
IT IS SO ORDERED that the Plaintiffs be GRANTED leave to file the attached Second
Supplemental and Amending Complaint for damages, and same is hereby deemed filed into the
record of this matter.

New Orleans, Louisiana, this day of , 2009.

UNITED STATES DISTRICT JUDGE

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